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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

     CHRISTOPHER KESSLER,

                   Plaintiff,
     vs.                                             CASE NO. 6:06-CV-1442-ORL-19JGG

     LIFESAFER SERVICE PROVIDERS,
     LLC,

                   Defendant.


                                            ORDER

            This case was considered by the Court on the Report and Recommendation of the

     United States Magistrate Judge (Doc. No. 46, filed April 6, 2007). No objection to said

     Report and Recommendation was filed. Upon consideration, it is

            ORDERED that the Report and Recommendation (Doc. No. 46) is ADOPTED and

     AFFIRMED. The Motion for Order Permitting Court Supervised Notice to Employees of

     Opt-In Rights (Doc. No. 42, filed April 6, 2007) is DENIED.

            DONE AND ORDERED at Orlando, Florida, this 25th               day of May, 2007.
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     Copies to:

     Counsel of Record
